Case 1:24-bk-10646-MB   Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26   Desc
                         Main Document    Page 1 of 23



1    JELENA MCWILLIAMS
     1601 K STREET NW
2    WASHINGTON, D.C. 2006-1682
     jmcwilliams@cravath.com
3
     Tel. 1-202-869-7710
4

5

6

7

8

9
10                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11                         SAN FERNANDO VALLEY DIVISION
12   In re                                 Case No. 1:24-bk-10646-MB
13
     SYNAPSE FINANCIAL TECHNOLOGIES, Chapter 11
14   INC.,
                                     AMENDED CHAPTER 11 TRUSTEE’S
15                                   INITIAL STATUS REPORT
             Debtor.
16                                         DATE: June 7, 2024
                                           TIME: 1:30 p.m. PT
17                                         PLACE: 303
                                           21041 Burbank Boulevard
18
                                           Woodland Hills, CA 91367 and
19                                         Via ZoomGov

20

21

22

23

24

25

26

27

28
Case 1:24-bk-10646-MB            Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26               Desc
                                  Main Document    Page 2 of 23



1            TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY JUDGE,

2    THE OFFICE OF THE UNITED STATES TRUSTEE, AND INTERESTED PARTIES:

3            I, Jelena McWilliams (the “Trustee”), the duly appointed, qualified and acting chapter 11

4    trustee for the estate of Debtor Synapse Financial Technologies, Inc. (“Synapse” or the “Debtor”),

5    hereby amend my initial “Chapter 11 Trustee’s Status Report” (the “Report”), and represent as

6    follows 1:

7                                                       I.

8                                             TIMELINE OF EVENTS

9            A.      Filing of the Chapter 11 Case and Appointment of Chapter 11 Trustee
10           On April 22, 2024, the Debtor filed a voluntary chapter 11 petition, schedules and statement

11   of financial affairs. That same day, the Debtor filed an emergency motion for an order approving the
12
     sale of all its assets for $9.7 million to TabaPay Holdings LLC and requested that a hearing take place
13
     on April 29, 2024. [Dkt. No. 8]. The Debtor represented that it is a technology company and “has
14
     proprietary technology and software which essentially allows financial technology platforms called
15
     ‘fintechs’ to provide certain financial products and services to the fintechs’ customers (referred to as
16

17   end users or depositors) though certain banking providers and financial technology providers.” Id. The

18   Debtor also filed a motion to approve a settlement reached with Evolve Bank & Trust (“Evolve”), one
19   of its partner financial institutions.
20
             On May 1, 2024, the Court entered an order approving bidding procedures and set a hearing
21
     to approve the sale for May 9, 2024. [Dkt. No. 92]. The Debtor reported at the May 9 hearing that the
22
     settlement with Evolve had not been consummated due to disputes over Evolve funding a settlement
23

24   payment. The buyer reported that it was unwilling to proceed with the sale without the Evolve

25   settlement.

26

27
     11
28      The amendments to the “Chapter 11 Trustee’s Initial Status Report,” filed June 6, 2024, 9:11 p.m.
     PT, are largely ministerial in nature. There are no substantive updates to the information represented
     in the earlier filed Report.
                                                        1
Case 1:24-bk-10646-MB           Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26               Desc
                                 Main Document    Page 3 of 23



1           On May 13, 2024, Evolve filed a motion for an order restoring access to the “Debtor’s

2    Dashboard System” or, alternatively, “Authorizing Evolve to Close all of the Debtor’s Demand
3
     Deposit Accounts at Evolve Associated with Debtor’s Programs”. [Dkt. No. 137]. Evolve alleged that
4
     it had been denied access to the Debtor’s computer systems and had been forced to freeze end user
5
     accounts. Id.
6
            On May 13, 2024, the Court conducted a status conference on the sale and a hearing on
7

8    Evolve’s motion. Although extensive arguments were made by counsel and their clients assessing

9    relative blame, it was undisputed that end users had lost access to funds.
10          On May 14, 2024, the Court conducted another status conference regarding access of end users
11
     to their funds and for continued use of cash collateral. The Debtor and secured creditors stated that
12
     they had agreed to the use of cash collateral through Friday, May 17.
13
            On May 15, 2024, the United States Trustee for the Central District of California (the “U.S.
14

15   Trustee”) filed a motion on an emergency basis requesting that the Court enter an order converting the

16   Chapter 11 Case to chapter 7 for cause, or, in the alternative, for the appointment of a chapter 11

17   trustee. [Dkt. No. 146].
18
            On May 24, 2024, following a hearing, the Court entered an order appointing a chapter 11
19
     trustee (the “Appointment Order”) and Jelena McWilliams was appointed by the U.S. Trustee as the
20
     Chapter 11 Trustee in this Chapter 11 Case (the “Case”). [Dkt. No. 196].
21
            As a result of the foregoing, Jelena McWilliams became the duly appointed, qualified and
22

23   acting Chapter 11 Trustee, and continues to act in this capacity.

24          B.       Impact on End Users

25                   The Trustee and proposed counsel have received voluminous communications from

26   affected end users and are further aware of the impact to these end users through media, public filings

27   and information shared with the Trustee by parties in interest in this Case. The Trustee shares the

28   Court’s urgency to restore access to end user funds and remains laser-focused on this priority. Since


                                                        2
Case 1:24-bk-10646-MB           Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                                 Main Document    Page 4 of 23



1    the appointment, the Trustee and proposed counsel have been working around the clock to investigate

2    the events that led to the reconciliation issues and freezing of end user accounts and identify a path to

3    unfreezing customer accounts as soon as possible. Aware of many personal stories from impacted end

4    users, the Trustee and proposed counsel are working diligently and rapidly to facilitate a resolution.

5           C.      Update on Ledger Reconciliation and Unfreezing of End User Accounts

6           In the hearing regarding the Trustee’s appointment, Judge Barash stated that “the Trustee can

7    immediately start speaking to parties in interest and developing a plan to fund the continued

8    preservation of Synapse’s systems and data, and to continue the process of sharing information and

9    hopefully reaching some agreement with the participating banks that allows funds to be returned to
10   end users, to the rightful owners of those funds, as soon as humanly possible.” Restoring access to end
11   user funds is the Trustee’s top priority.
12          The Appointment Order instructed that, “[a]s soon as possible, the chapter 11 trustee is directed
13   to meet and confer with counsel for the various constituents in business with the Debtor, including the
14   financial technology platforms, the partner financial institutions and the Debtor’s secured lenders.”
15   [Dkt. No. 196]. Immediately upon appointment on Friday evening, the Trustee and the Trustee’s
16   proposed counsel at Cravath began meeting and conferring with former Synapse officers, Sankaet
17   Pathak and Tracey Guerin. The Trustee began conferring with other parties in interest over the
18   Memorial Day weekend and has continued to meet with the partner financial institutions, partner
19   financial technology platforms and other parties to resolve whatever issues need to be resolved to
20   restore end user access to funds to the greatest extent possible and as soon as possible.
21                  1.      Synapse Corporate Structure and Operations
22                  Through the meetings and communications described below, the Trustee was informed
23   that early in its operations beginning in 2014, Synapse initially opened Demand Deposit Accounts
24   (“DDA Accounts”) on behalf of approximately 100 financial technology platform partners
25   (collectively, the “Fintech Partners”) at four banks. The four banks are: American Bank, AMG
26   National Trust, Evolve Bank and Trust, and Lineage Bank (collectively, the “Partner Banks”). At some
27   point in 2020 and later, Synapse developed its cash management program in connection with its
28   subsidiary, Synapse Brokerage LLC (“Synapse Brokerage”), and began opening Cash Management


                                                        3
Case 1:24-bk-10646-MB             Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26             Desc
                                   Main Document    Page 5 of 23



1    Accounts (“CMA Accounts”) on behalf of Fintech Platforms at Partner Banks. According to its

2    privacy policy, Synapse Brokerage provided cash management account and related services to account

3    holders. Additionally, Synapse has another subsidiary, Synapse Credit LLC (“Synapse Credit”).

4    According to its privacy policy, Synapse Credit is a licensed U.S. lender of record that offered loan

5    origination, servicing, credit reporting, and marketing and regulatory compliance monitoring services

6    to Fintech Partners. At the time of this Report, neither Synapse Brokerage nor Synapse Credit is a

7    debtor in this Case or any other bankruptcy case.

8                   2.       Relationships with Partner Banks

9           Synapse often used multiple Partner Banks to service different functions for the same Fintech
10   Partner. In certain instances, end user deposits through a Fintech Partner were deposited in an account
11   at one Partner Bank, while end user withdrawals through that same Fintech Partner were processed
12   from a different account at a different Partner Bank. This business model makes it both essential and
13   difficult to reconcile transactions and ensure end users receive access to the correct amount of funds
14   due to each end user.
15                           a.      American Bank
16                  The Trustee was informed that American Bank held brokered sweep deposits from
17   Synapse Brokerage and provided debit card issuance services to five Synapse Fintech Partners.
18   American Bank did not participate in payment processing or lending services. Prior to the Synapse
19   bankruptcy, at American Bank’s request, Synapse and American Bank began executing a winddown
20   plan to terminate the relationship, and as of May 17 had less than $50,000 in sweep deposits.
21                           b.      AMG National Trust
22          The Trustee was informed that AMG began accepting brokered sweep deposits from Synapse
23   Brokerage in August 2023. To facilitate those deposits and other transactional activity, Synapse
24   Brokerage established deposit accounts at AMG for Synapse Brokerage and other deposit accounts
25   “for the benefit of” its Fintech Partners and their end users (“FBO Accounts”) 2. Beginning in February
26   2024, AMG also processed ACH and wire transactions for four of Synapse Brokerage’s Fintech

27
     2
28     A “For Benefit Of” or “FBO” account is a type of custodial account. It is a pooled account that
     allows a company to manage funds on behalf of, or “for the benefit of,” one or more of their users
     without assuming legal ownership of that account.
                                                         4
Case 1:24-bk-10646-MB            Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26               Desc
                                  Main Document    Page 6 of 23



1    Partners but provided no lending, credit card or debit card services. AMG has held no accounts for

2    Synapse and has no official relationship with any Fintech Partner or end user. Synapse Brokerage was

3    the custodian of record for its Fintech Partners and processed and recorded all end user transactions.

4                           c.      Evolve Bank and Trust

5           The Trustee was informed that Evolve provided to Synapse Financial Technologies Inc.,

6    banking services, including DDA Accounts. Further, Evolve provided payment processing services

7    for Synapse Brokerage.

8                           d.      Lineage Bank

9           The Trustee was informed that Lineage Bank provided ACH and wire transfer processing as
10   an originating depository financial institution for Synapse pursuant to a Master Services Agreement
11   (“Lineage MSA”). Lineage asserts that Synapse had established a reserve account at Lineage to secure
12   its obligations pursuant to the Lineage MSA. Lineage stated that in the fall of 2023, it discovered that
13   Synapse transferred approximately $60 million of end user funds to the reserve account, prompting
14   Lineage to move those funds into a FBO account for the benefit of the end users. As a result, in March
15   2024, Lineage terminated the Lineage MSA for cause. With the exception of one DDA Account,
16   Lineage provided only ACH and wire processing services to Synapse. Lineage claims that it has never
17   maintained bank accounts for end users and that it never entered into customer agreements directly
18   with end users, that it has only one account with a Fintech Platform, that it was not a Program Bank
19   or a custodian for Synapse Brokerage and that it was not involved with Synapse Brokerage in any
20   way.
21                  3.      FBO Funds
22          The Partner Banks have informed the Trustee that the end user funds they hold are FBO funds
23   held either for the benefit of Synapse or Synapse Brokerage and its underlying end users, as follows:
24              •   AMG National Trust holds FBO Accounts in the name of Synapse Brokerage and
25                  believes Fintech Partner’s end users of the Brokerage are the legal beneficial owners
26                  of funds in these accounts.
27              •   Evolve has FBO accounts in the name of Synapse, which is where the DDA funds are
28                  held, as well as FBO accounts in the name of Synapse Brokerage. Over several months,


                                                        5
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                Desc
                                Main Document    Page 7 of 23



1                   Synapse Brokerage moved approximately $650 million from Evolve to AMG and other

2                   banks as part of the migration of Fintech Partners and end users to Synapse Brokerage.

3                   Some of those funds were subsequently further moved among Partner Banks. Synapse

4                   Brokerage continued to regularly direct cash movement between banks as part of its

5                   sweep program. Moreover, Evolve has indicated that for payment processing purposes,

6                   Synapse Brokerage has leveraged omnibus accounts, which were not in the name of

7                   individual Fintech Partners but, rather, in the name of Synapse. In addition, based on

8                   the terms and conditions that were provided to customers whose accounts were

9                   migrated to Synapse Brokerage, Synapse Brokerage leveraged “Program Banks” 3 to
10                  hold customer funds.
11              •   Lineage Bank holds an FBO Account that is designated for the benefit of Synapse
12                  Financial Technologies, Inc. However, the Debtor assigned the funds under their
13                  brokerage program to Lineage. As a result, the majority of the funds at Lineage (with
14                  the exception of those associated with one Fintech Partner) belong to programs where
15                  the end users are the customers of Synapse Brokerage.
16          The Trustee was informed that, in ordinary circumstances, Partner Banks holding FBO
17   Accounts on behalf of Synapse Brokerage would release those funds to Synapse Brokerage and then
18   Synapse Brokerage would distribute those funds to the respective Fintech Platforms that are customers
19   of Synapse Brokerage. The Trustee learned that, while Synapse Brokerage is not in bankruptcy,
20   Synapse Brokerage and the Debtor shared employees, functions and systems. For example, the Trustee
21   was informed that Synapse Brokerage and the Debtor maintained a single, intertwined ledger database
22   on MongoDB and engineers formerly employed by the Debtor were tasked with generating reports for
23   Synapse Brokerage. The Trustee and proposed counsel met and conferred with the former President
24   of Synapse Brokerage and learned that he and the only other employee of Synapse Brokerage had been
25   terminated effective May 24, 2024. At this time, there are no employees left at Synapse Brokerage.
26   Therefore, the Trustee believes that releasing funds to Synapse Brokerage will not result in the timely
27   restoration of funds to end users.
28
     3
     As of May 22, 2024, the list of Program Banks on Synapse’s website includes American Bank,
     AMG, and Lineage. (https://synapsefi.com/list-of-program-banks).
                                                       6
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                                Main Document    Page 8 of 23



1           The Trustee was also informed that Evolve has not been able to reconcile its deposits against

2    the Synapse ledgers due in part to their view that Synapse’s proprietary ledger system is difficult to

3    interpret without expertise from persons familiar with the systems. Evolve’s position is that it can

4    reconcile the DDA Accounts it has through Synapse Financial Technologies, but it cannot reconcile

5    Synapse brokerage accounts as it only performed payment processing.

6           Due to the lack of funds, the Debtor terminated all Synapse employees and independent

7    contractors effective May 24, 2024, so there are no employees left at Debtor’s business to provide the

8    necessary expertise to interpret the Synapse ledger. Over the Memorial Day weekend, the Trustee and

9    proposed counsel had several meetings with a well-regarded third-party forensics firm to consider a
10   potential engagement with regard to the reconciliation, but their fee estimate was prohibitive in light
11   of the lack of estate resources. Due to the lack of any funds, the Trustee is neither able to engage
12   former Synapse employees on an independent contractor basis nor a third-party forensics firm to
13   provide this expertise. Even if a third party could be engaged, the Trustee has learned it could take
14   many weeks or more to have an independent third party to complete the reconciliation.
15          As a result of the foregoing, the Trustee agreed with the recommendation put forth by certain
16   of the Partner Banks that the Partner Banks complete a reconciliation with each other in order to
17   determine the amount of Synapse-related FBO funds held by each Partner Bank and the correct amount
18   of funds due to each end user (the “Initial Bank Reconciliation”). Between May 25 and May 29, the
19   Trustee and proposed counsel met and conferred with each of the Partner Banks several times. During
20   these meetings, the Partner Banks expressed the need to collectively share information in order to be
21   able to reconcile ledgers among themselves. On May 29, the Trustee met with the Partner Banks
22   collectively to discuss the process for conducting the Initial Bank Reconciliation.
23          To facilitate the information sharing necessary to complete the Initial Bank Reconciliation, the
24   Partner Banks and the Trustee entered into a “Stipulated Protective Order.” The Court lodged an
25   “Order Approving Stipulated Protective Order” on May 31, 2024 (the “Protective Order”). The
26   Protective Order governs the disclosure and discussion of information and documents by and among
27   the Banks and the Debtor, including confidential trial balances or other financial account reconciliation
28   information exchanged by the Banks regarding the Debtor and/or its affiliates in connection with this


                                                        7
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                                Main Document    Page 9 of 23



1    Case. The purpose of the Protective Order is to expedite the flow of information for purposes of the

2    reconciliation of the Debtor’s and its clients’ financial accounts, protect confidential material related

3    thereto, ensure that the parties are permitted reasonable, necessary use of such material and address

4    the handling of such material at the end of the Case.

5           Since the entry of the Protective Order, the Banks have disclosed and discussed data and

6    documents to facilitate the Initial Bank Reconciliation in order to unfreeze end user accounts,

7    including creating and populating a shared data room. Since May 29, 2024, the Trustee has had

8    frequent status meetings with the Partner Banks to ensure coordination and the progress of the Initial

9    Bank Reconciliation. The Trustee has directed the Partner Banks’ communication requests to Sankaet
10   Pathak, the former chief executive officer of the Debtor, who is familiar with the Synapse systems, to
11   provide information and answer questions regarding the Synapse ledger system to facilitate the Initial
12   Bank Reconciliation. As of the date of this report, the Partner Banks have indicated that they require
13   additional information to complete the Initial Bank Reconciliation, including:
14              •   The role, transactions and funds attributed to Synapse Credit, including whether
15                  unsecured loans were provided to end users and how those loans were funded;
16              •   Whether Synapse Brokerage maintained its own ledger system or whether the systems
17                  were intertwined such that platform level reports include transactions and balances for
18                  multiple Synapse entities;
19              •   Whether current Synapse systems are capable of generating a full trial balance as of
20                  May 17 4 inclusive of balances at all Partner Banks;
21              •   Whether current Synapse systems are capable of generating customer statements as of
22                  May 17 and, if so, whether those statements would reconcile with the Synapse ledger

23                  and trial balances as of May 17;

24              •   The make-up of negative balances and overdrafts associated with certain Fintech
25                  Partners on the Synapse ledger;

26

27

28
     4
      The Partner Banks generally agree that May 17, 2024, is the last date on which Synapse ledgering
     was completed and accessible.
                                                        8
Case 1:24-bk-10646-MB      Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                           Main Document     Page 10 of 23



1           •   The criteria used to decide which of the Partner Banks were allocated negative-balance
2               accounts on the Synapse trial balance and why some Partner Banks have no negative

3               account balances while other Partner Banks have significant negative account balances;

4           •   Whether negative account balances and their allocations match or approximate the
5               actual FBO cash balances;

6           •   Whether money owed for financial transaction settlements was deducted from end user
7               accounts as is shown on certain trial balances and whether that money should have been

8               deducted from excess bank balances instead;

9           •   Whether Synapse turned off the automation that triggered settlement payments on or
10              around May 8 or whether Synapse continued to send payment instructions for
11              settlements which were denied by certain Partner Banks;
12          •   Whether Synapse changed allocations for Fintech Partner funds between May 8 and
13              May 17 as is indicated on the Synapse ledger and, if so, how the Partner Banks should
14              fund settlements among one another; and
15          •   Whether reserve funds associated with specific Fintech Partners can be distinguished
16              from end user funds and from reserve funds associated with other Fintech Partners and
17              whether details of the timeline, means and history of funding those reserves can be
18              traced and reconciled with the Fintech Partner’s records of funding reserves?
19       The Partner Banks have advised the Trustee of the following, as of June 6, 2024:
20          •   Partner Banks hold approximately $180 million in total cash (both DDA and FBO
21              accounts) associated with Fintech Partner end users and potential platform reserves.
22          •   The remaining trial balance, after distributions made by certain Partner Banks prior to
23              the appointment of the Trustee on May 24, 2024, is approximately $265 million.

24          •   As a result, the trial balances from the Fintech Partners and Synapse that served as
25              inputs for the Initial Bank Reconciliation reflects a shortfall of approximately $85

26              million.

27          •   The source of the shortfall, including whether end user funds and negative balance
28              accounts were moved among Partner Banks in a way that increased or decreased the


                                                   9
Case 1:24-bk-10646-MB            Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26               Desc
                                 Main Document     Page 11 of 23



1                   respective shortfalls that may have existed at each Partner Bank at an earlier time, is

2                   not known at this time.

3               •   It would take some Partner Banks several weeks (if not longer) to completely reconcile
4                   which payments among the Partner Banks relate to which Fintech Partner accounts and

5                   agree on the amounts due to Fintech Partners and their underlying end users by each

6                   Partner Bank.

7               •   While it appears that Synapse assigned customer balances to the Partner Banks via a
8                   ledger, those customers may not have funds with those Partner Banks to the extent that

9                   they are Synapse Brokerage customers.
10              •   Some Partner Banks believe that they would be able to reconcile certain amounts of
11                  FBO funds with the applicable Fintech Partners and that those funds (the “Reconciled
12                  FBO Funds”) could be distributed to the relevant end users, recognizing that such a
13                  distribution could result in end users being paid less than the full amount the are due as
14                  a result of the overall shortfall.
15              •   Access to Synapse’s systems, especially the database hosted on MongoDB and AWS,
16                  is essential to completing the reconciliation process.
17                  4.      Partner Banks’ Proposed Next Steps
18                          a.      American Bank
19          American Bank has informed the Trustee that, as of the date of this report, it holds $43,339.67
20   in end user funds and is owed approximately $2,337,000 by the other Partner Banks as a result of
21   unsettled debit transactions from May 8 to May 23, 2024. American Bank has stated that, while it has
22   all card data transactions by customer, it requires other Partner Banks’ ledgers by account (i.e., node)
23   so it can correctly determine the amounts each Partner Bank owes American Bank.
24                          b.      AMG National Trust
25          AMG has informed the Trustee that, since Synapse ceased operations, it has reached out to all
26   of the Fintech Partners that are on its Synapse/Brokerage-assigned Trial Balance to confirm with the
27   Fintech Partner that the end user balances on the Trial Balance are correct for payment purposes. AMG
28   believes that, (1) if a Fintech Partner expects to continue its operations, AMG should be able to have


                                                         10
Case 1:24-bk-10646-MB            Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26               Desc
                                 Main Document     Page 12 of 23



1    the total of its end users’ funds transferred to another custodian to continue those operations, and (2)

2    for Fintech Partners winding down their operations, AMG should be able to work with the Fintech

3    Partners to determine the best way to make distributions to the underlying end users.

4           AMG believes that reconciling Synapse ledgers against Fintech Partner information is the best

5    source of truth. AMG has informed the Trustee of its observations throughout the reconciliation

6    process: (1) examples of Fintech Partners’ end user accounting systems that track all details of end

7    users’ transactions and balances, (2) multiple examples of account balance records Fintech Partner

8    end users have provided that match the amounts in the Trial Balance and (3) other evidence that the

9    Fintech Platforms are actively confirming that the underlying end users’ information is correct. AMG
10   has stated it has been in continuous correspondence with the Fintech Partners, nearly all of which have
11   confirmed all balances with AMG as of the date of this Report.
12          AMG has informed the Trustee that it could make initial distributions for all of the funds it
13   holds for end users on the AMG trial balance within two weeks, with most of the dollar amount flowing
14   out within a week. AMG has conveyed to the Trustee a request that it be authorized to make
15   distributions for the full amounts.
16                          c.      Evolve Bank and Trust
17          Evolve has informed the Trustee that it sees two potential paths forward, for both of which
18   Evolve would seek the Trustee’s or the Court’s authorization:
19              •   Instruct all Partner Banks to consolidate all the Synapse Brokerage FBO cash into one
20                  account and have the Trustee or the Court determine the amount to be paid to each
21                  Fintech Partner or end user.
22              •   Allow the Trustee or the Court to determine the amount to be paid to each Fintech
23                  Partner or end user and based on the cash balances held by each Partner Bank, instruct
24                  them as to the amount to be paid out even if there is a shortfall.
25          Evolve has informed the Trustee of its position that it would be improper for any Partner Bank
26   performing payment processing and holding funds in an omnibus account for Synapse Brokerage to
27   otherwise distribute those funds to Fintech Partners or end users at this time as the end users are
28


                                                       11
Case 1:24-bk-10646-MB            Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26              Desc
                                 Main Document     Page 13 of 23



1    Synapse Brokerage customers, and Evolve does not have the authority to determine how to distribute

2    such customer funds.

3                           d.      Lineage Bank

4                   Lineage has informed the Trustee that it believes that all remaining funds outside of

5    DDA-related programs are verifiably for the benefit of Synapse Brokerage and the two banks that

6    Lineage believes have had direct relationships with Synapse Brokerage, AMG National Bank and

7    American Deposit Management Co., and that such funds should be transferred directly to those banks.

8           D.      Meetings with Constituents

9           The Appointment Order stipulates that, “[a]s soon as possible, the chapter 11 trustee is directed
10   to meet and confer with counsel for the various constituents in business with the Debtor, including the
11   financial technology platforms, the partner financial institutions and the Debtor’s secured lenders.”
12   Immediately upon notice from the U.S. Trustee of the impending Appointment Order on May 24, the
13   Trustee and proposed counsel began scheduling meetings with constituents over the Memorial Day
14   weekend and during the next week. The Trustee appreciates all the constituents who share in the
15   urgency to restore access to end user accounts and funds and accommodated requests to meet on
16   weekends, holidays and at all hours. Since appointment, the Trustee has met, either by video
17   conference or by telephone, with numerous constituents in the Case. The substance of those meetings,
18   generally stated, is described below:
19                  1.      Debtor’s Former Officers, Key Employees and Contractors
20          The Trustee and proposed counsel have had several meetings and continue to maintain open
21   lines of communication with Sankaet Pathak, founder and former chief executive officer of the Debtor,
22   Tracey Guerin, former general counsel of the Debtor, and Pam Wismer, an independent contractor
23   from Ascent CFO Solutions who provided fractional chief financial officer services to the Debtor. The
24   purpose of these meetings and communications has been to discuss the history of the Case, the events
25   that led to the reconciliation issues and freezing of end user accounts and to obtain key contacts,
26   systems access and information to facilitate the ledger reconciliation process that is underway.
27                  2.      Bank Partners
28


                                                       12
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                               Main Document     Page 14 of 23



1           The Trustee and proposed counsel have had several meetings with the Partner Banks of

2    Synapse and their respective counsels: American Bank, N.A., AMG National Trust, Evolve Bank and

3    Trust and Lineage Bank. The Trustee had initial meetings with each of the Banks and their counsel to

4    discuss the history of their relationship with Synapse, the events that led to the reconciliation issues

5    and freezing of end user accounts and the current status of their internal reconciliation process. The

6    Trustee is continuing to meet and communicate with the Partner Banks individually and collectively

7    to track the status of the Initial Bank Reconciliation and to resolve open issues and questions related

8    to the Initial Bank Reconciliation and other avenues to unfreeze end user accounts. The Trustee has

9    generally been successful in getting participation in these meetings and efforts from senior (CEO level)
10   executives at the Partner Banks.
11                  3.      Financial Technology Platform Partners
12          The Trustee and proposed counsel have had meetings with many of the Fintech Partners of
13   Synapse and their respective counsels, including: Changed Inc., Copper, Gig Wage, Grabr, Gravy,
14   IDT, Juno, Mercury, Sunny Day Fund, TClub (d/b/a Abound), Yieldstreet and Yotta. The purpose of
15   these meetings was to discuss the history of the Fintech Partners’ relationship with Synapse, the events
16   that led to the reconciliation issues and freezing of end user accounts, the volume of affected customers
17   and funds and the current status of their internal reconciliation process.
18                  4.      End Users
19          The Trustee and proposed counsel have had several meetings and communications with
20   affected end users. The purpose of these meetings and communications has been to understand the
21   impact to end users and inform end users that the Trustee’s top priority is restoring access to end user
22   funds as soon as possible.
23                  5.      Debtor’s Counsel
24          The Trustee and proposed counsel have met with and maintain open lines of communication
25   with counsel for the Debtor, Levene, Neale, Bender, Yoo & Golubchik LLP. The purpose of these
26   meetings and communications has been to discuss the history of the Case, open issues regarding the
27   administration of this Case and the events that led to the reconciliation issues and freezing of end user
28   accounts.


                                                        13
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                Desc
                               Main Document     Page 15 of 23



1                   6.      Counsel to Secured Creditors

2           The Trustee and proposed counsel have met with McDermott, Will & Emery LLP, counsel to

3    TriplePoint Capital and Morrison Foerster, counsel to First Citizens Bank (acquirer of Silicon Valley

4    Bank). The purpose of these meetings has been to discuss the history of the Case and potential

5    conditions under which cash collateral may be used in the event the estate is able to obtain funding

6    arrangements in light of the priority to complete the Initial Bank Reconciliation and unfreeze end user

7    accounts. To date, no viable funding arrangements have materialized.

8                   7.      Kroll, Inc.

9           The Trustee and proposed counsel have met with and maintain open lines of communication
10   with Kroll, Inc., who was engaged by the Synapse Audit Committee to conduct an audit and
11   reconciliation of the Synapse ledgers in 2023. The purpose of these meetings and communications has
12   been to discuss the findings of the audit and reconciliation conducted by the Kroll team as regards
13   Synapse systems, transaction history and governance.
14                  8.      Regulatory and Government Bodies
15          The Trustee and proposed counsel have met with staff from the Federal Reserve, the Federal
16   Deposit Insurance Corporation (“FDIC”) and the Securities Investor Protection Corporation (“SIPC”).
17   The purpose of these meetings was to discuss the history of this Case and the Federal Reserve, FDIC
18   and SIPC’s view of the events that led to the reconciliation issues and freezing of end user accounts.
19                  9.      Regulatory Counsel
20          The Trustee and proposed counsel have met with Lowenstein Sandler LLP, regulatory counsel
21   to the Debtor and Synapse Brokerage. The purpose of these meetings has been to discuss the history
22   of this Case, ongoing FINRA and SEC exams of Synapse Brokerage and their view of events that led
23   to the reconciliation issues and freezing of end user accounts.
24                  10.     Brokerage Subsidiary Constituents
25          The Trustee and proposed counsel have met with Jeff Stanley, the former president and chief
26   executive officer of Synapse Brokerage, and Patten Training & Review, which provides financial
27   services to and serves as an outsourced principal of Synapse Brokerage. The purpose of these meetings
28   has been to discuss the history of the Synapse Brokerage and its relationship to the Debtor, ongoing


                                                       14
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                               Main Document     Page 16 of 23



1    FINRA and SEC exams and the events that led to the reconciliation issues and freezing of end user

2    accounts.

3                   11.     Official Committee of Unsecured Creditors

4            The Trustee and proposed counsel have had meetings with Saul Ewing LLP and Boies Schiller

5    Flexner LLP, proposed co-counsel to the Official Committee of Unsecured Creditors (the “UCC”).

6    The purpose of these meetings has been to discuss the history of the Case, to gain an understanding of

7    the Committee’s position on the outstanding issues in this Case and to discuss potential coordination

8    and appropriate cooperation in the pursuit of estate causes of action once the Trustee’s primary

9    objective of starting the return of end user funds has been accomplished.
10                  12.     Vendors and Suppliers
11           The Trustee has received numerous in-bound communications from creditors with unpaid
12   invoices and the like. The Trustee has focused and has instructed proposed counsel to focus on
13   restoration of end user access as a priority over these inquiries. For certain “critical vendors” such as
14   Amazon Web Services (“AWS”) and MongoDB, which host or provide database services, the Trustee
15   has through proposed counsel reached out to implore them to continue to provide services for the time
16   being because if access were lost, end users whose funds are inaccessible could suffer irreparable
17   harm.
18                  13.     Potential Asset Purchasers
19           The Trustee has received several in-bound inquiries from potential purchasers of assets of the
20   Debtor. As is typical in a chapter 11 context, it is not clear how serious or actionable any of these
21   inquiries may be, and the Trustee’s primary focus now is on restoring end user access. Accordingly,
22   the Trustee has had proposed counsel acknowledge receipt of the in-bounds and note that we are
23   focusing on restoring end user access but will respond in due course as appropriate. The Trustee is
24   investigating mechanisms by which funding from a purchaser and/or proceeds from a sale may provide
25   cash collateral that can be used to fund critical Debtor operations to facilitate the Initial Bank
26   Reconciliation and unfreezing of customer accounts.
27           E.     Obtaining Access to Debtor’s Systems, Accounts and Records

28                  1.      Synapse Systems Access


                                                        15
Case 1:24-bk-10646-MB           Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                Desc
                                Main Document     Page 17 of 23



1           The Trustee and proposed counsel have obtained access to Debtor’s database platform,

2    MongoDB, communications platform, Slack, HR system, Rippling, and the data room populated to

3    facilitate TabaPay, Inc.’s due diligence in connection with its canceled asset purchase. The Trustee

4    and proposed counsel are working to obtain access to Debtor’s cloud computing platform, Amazon

5    Web Services and email accounts.

6                   2.      Records Collection and Preservation

7           The Trustee and proposed counsel have had several communications with AWS and

8    MongoDB, two key service providers that host records and databases of the Debtor. Based on

9    discussions with former Synapse officers and employees, the Trustee determined that the continuation
10   of these services is essential to facilitate the Initial Bank Reconciliation and unfreezing of end user
11   accounts. The Trustee and proposed counsel contacted AWS and MongoDB to make them aware of
12   the irreparable harm that would result to the Debtor and end users if access to these hosting services
13   was interrupted or records were deleted. The Trustee appreciates AWS and MongoDB’s recognition
14   of the urgency to unfreeze end user accounts and assurances of continued service during the
15   reconciliation process, even in light of the Debtor’s inability to keep current on its payments.
16                  3.      Bank Accounts
17          The Trustee and proposed counsel have identified the banks and key accounts in which the
18   Debtor held operational funds. The Trustee has been in contact with bank personnel to obtain access
19   to the Debtor’s primary operational accounts held at First Citizens Bank (acquiror of Silicon Valley
20   Bank) to verify balances and transfer funds to trustee accounts as appropriate. The Trustee is in the
21   process of gaining access to secondary operational and other bank accounts.
22          F.      Retention of Professionals

23                  1.      General Bankruptcy Counsel

24          The Trustee plans to file the “Chapter 11 Trustee’s Application for Order Authorizing

25   Employment of Cravath, Swaine & Moore LLP as General Bankruptcy Counsel” which will seek an

26   order of this Court authorizing the employment of Cravath, Swaine & Moore LLP, a firm at which the

27   Trustee is a partner, to act as the Trustee’s general bankruptcy counsel, effective as of May 24, 2024,

28   the date of appointment.


                                                        16
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                               Main Document     Page 18 of 23



1                   2.      Local Counsel

2           The Trustee plans to file the “Chapter 11 Trustee’s Application for Order Authorizing

3    Employment of Keller Benvenutti Kim LLP as Local Counsel” which will seek an order of this Court

4    authorizing the employment of Keller Benvenutti Kim LLP, a California firm, to act as the Trustee’s

5    local counsel, effective as of May 24, 2024, the date of appointment.

6                   3.      Financial Advisors

7           The Trustee and proposed counsel have had meetings and communications with potential

8    financial advisors to discuss the engagement of forensic accounting services to assist with the ledger

9    reconciliation process in order to unfreeze customer accounts. Due to current estate funding
10   constraints, the Trustee does not plan to engage outside financial advisors at this time. The Trustee is
11   maintaining open lines of communication with several potential financial advisors to determine
12   whether to engage their services pending the timely and accurate outcome of the Initial Bank
13   Reconciliation and funding.
14                                                     II.

15                                          SIGNIFICANT ISSUES

16          A.      Cash Collateral and Wind-Down Budget

17          The Debtor currently appears to have zero available liquidity and has no arrangement with

18   secured lenders to access cash collateral in the event that the estate obtains funding. The Trustee and

19   proposed counsel are working to identify sources of funding for the estate and developing a winddown

20   plan that minimizes expenses. In the meantime, the Trustee is focused on the priority to restore end

21   user access and funds and is determined to resolve this issue even while the estate lacks funding to

22   hire independent contractors, engage third-party investigative and accounting experts or pay

23   administrative creditors (including the Trustee and proposed counsel). The Trustee appreciates the

24   creative solutions and commitment of resources offered by Partner Banks and Fintech Partners to

25   facilitate the Initial Bank Reconciliation and unfreezing of end user accounts while estate funding

26   remains unclear.

27          B.      Conversion

28


                                                       17
Case 1:24-bk-10646-MB          Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                               Main Document     Page 19 of 23



1                   The Trustee believes this Case should remain in chapter 11 for the time being, and, as

2    a result, does not intend to seek immediate conversion today to chapter 7.

3                                                      III.

4                              CONCLUSION AND RECOMMENDATION

5           Partner Banks have been able to reconcile and return funds to some DDA Account end users.

6    The Trustee has instructed Partner Banks to continue such reconciliation and the return of funds to the

7    remaining DDA Account end users.

8           With regard to the FBO accounts, under more optimal circumstances, Partner Banks would

9    fully reconcile balances with each other, with the Synapse ledger and with the individual Fintech
10   Partners’ ledgers, and subsequently have that reconciliation audited and confirmed by an independent
11   third party. Given that Synapse has no apparent funds for a third-party reconciliation and that a full
12   reconciliation among the Partner Banks is likely to take weeks to complete, the Trustee believes that
13   this approach is not feasible and would delay the repayment of funds.
14          Nonetheless, the Trustee believes that providing Fintech Partners and end users access to their
15   funds before such reconciliation efforts are concluded would likely result in certain end users being
16   given access to funds in an amount (1) different from the amount they would be due under a fully
17   reconciled ledger and (2) less than is shown to be owed to them under the Synapse ledgers. In the
18   interest of restoring end user funds promptly, it is the Trustee’s recommendation, as described in more
19   detail below, that the Reconciled FBO Funds be distributed to end users as promptly as practicable
20   following the status conference relating to this Report.
21          As such, there are three potential pathways for resolution of outstanding FBO funds for
22   consideration by the Court and parties in interest.
23              1) Full Payment to Reconciled FBO Accounts and No Payment to Unreconciled FBO

24                  Accounts: End user funds held in Reconciled FBO Accounts should be released as soon

25                  as practicable after the status conference. For end user funds held in accounts for which

26                  Partner Banks and Fintech Platforms have not been able to reconcile their respective

27                  accounts against the Synapse ledgers or individual Fintech Platform ledgers, or where

28


                                                           18
Case 1:24-bk-10646-MB         Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                 Desc
                              Main Document     Page 20 of 23



1                  there is a current shortfall between end user balances and actual FBO balances, those

2                  funds should not be repaid entirely or partially while reconciliation efforts continue.

3               2) Full Payment to Reconciled FBO and Partial Payment to Unreconciled FBO Accounts:

4                  End user funds held in Reconciled FBO Accounts should be released as soon as

5                  practicable after the status conference. For end user funds held in accounts for which

6                  Partner Banks and Fintech Platforms have not been able to reconcile their respective

7                  accounts against the Synapse ledgers or individual Fintech Platform ledgers, or where

8                  there is a current shortfall between end user balances and actual FBO balances, those

9                  funds should be paid partially while reconciliation efforts continue. Any shortfall
10                 should be allocated pro rata among the total end users or Fintech Platforms. Partner
11                 Banks should release pro rata amounts of end user funds immediately and the remaining
12                 balances will not be paid out while reconciliation efforts continue.
13              3) Partial Payment to All FBO Accounts: Reconciled FBO Accounts would not receive

14                 full payments. Rather, any shortfall should be allocated pro rata among the total end

15                 users or Fintech Platforms. Partner Banks should release pro rata amounts of end user

16                 funds immediately and the remaining balances will not be paid out while reconciliation

17                 efforts continue.

18              4) No Payment to Any FBO Accounts: No Fintech Platform end user funds would be

19                 repaid at this time while reconciliation efforts continue.

20          The Trustee will present the foregoing at the Status Conference scheduled for June 7, 2024, at

21   1:30 p.m. Pacific Time. Depending on the outcome of the Status Conference and other certain meetings

22   and communications, the Trustee may respectfully request that Court grant certain relief as the Court

23   deems appropriate after the Status Conference.

24

25

26

27

28


                                                      19
Case 1:24-bk-10646-MB      Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26    Desc
                           Main Document     Page 21 of 23



1

2    DATED: June 7, 2024                          JELENA MCWILLIAMS
                                                  CHAPTER 11 TRUSTEE
3

4
                                                       /S/ Jelena McWilliams
                                                  By: ___________________________________
5
                                                      Jelena McWilliams
6                                                     Chapter 11 Trustee

7

8                                           ###
9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                             20
       Case 1:24-bk-10646-MB                      Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                                      Desc
                                                  Main Document     Page 22 of 23



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Cravath, Swaine & Moore LLP, 2 Manhattan West, 375 Ninth Avenue, New York, NY 10001

A true and correct copy of the foregoing document entitled (specify): __________________________________________
AMENDED CHAPTER 11 TRUSTEE’S INITIAL STATUS REPORT___________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
6/7/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Raymond O Aghaian raghaian@kilpatricktownsend.com, ndelman@kilpatricktownsend.com
Ron Bender rb@lnbyg.com
J Scott Bovitz bovitz@bovitz-spitzer.com
Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
Sara Chenetz schenetz@perkinscoie.com,
docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chenetz-sara-perkins-coie-
8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com
Russell Clementson russell.clementson@usdoj.gov
Andrew Michael Cummings andrew.cummings@hklaw.com,
philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
Michael G. Farag mfarag@gibsondunn.com
Paul R. Glassman pglassman@stradlinglaw.com
Nicholas Christian Glenos cglenos@bradley.com
Michael H Goldstein mgoldstein@goodwinprocter.com, ASchaefer@goodwinlaw.com
Michael I. Gottfried mgottfried@elkinskalt.com,
cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
Steven T Gubner sgubner@bg.law, ecf@bg.law
Ralph P Guenther rguenther@guentherlawgroup.com
Robert T. Honeywell robert.honeywell@klgates.com
Lance N Jurich ljurich@loeb.com,
pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.com
Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
William J Levant wlevant@kaplaw.com, wlevant@gmail.com
Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
Jelena McWilliams (TR) jmcwilliams@cravath.com, mao@cravath.com
Krikor J Meshefejian kjm@lnbyg.com
Fred Neufeld fneufeld@stradlinglaw.com, tingman@sycr.com
David M Poitras dpoitras@bg.law
Paul M Rosenblatt prosenblatt@kilpatricktownsend.com, moroberts@ktslaw.com
Brandy A Sargent brandy.sargent@klgates.com, litigation.docketing@klgates.com;janna.leasy@klgates.com
Zev Shechtman Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;easter.santamaria@saul.com
Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com
Claire K Wu claire.wu@pillsburylaw.com, irene.hooper@pillsburylaw.com;docket@pillsburylaw.com
Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 1:24-bk-10646-MB                     Doc 254 Filed 06/07/24 Entered 06/07/24 11:51:26                                      Desc
                                                  Main Document     Page 23 of 23




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 6/7/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

None.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 6/7/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

None.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 6/7/2024                       Robert N. Greenfield                                            /s/ Robert N. Greenfield
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
